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                                   STATEMENT OF FACTS

        Your affiant, Nichole Riordan, is a Special Agent assigned to the Federal Bureau of
Investigation (“FBI”) Los Angeles Field Office, Long Beach Resident Agency Joint Terrorism
Task Force. In my duties as a Special Agent, I investigate violations of the laws of the United
States, specifically investigations related to domestic and foreign terrorism. Currently, I am a
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent with the FBI, I am authorized by law or by a Government agency to engage in
or supervise the prevention, detention, investigation, or prosecution of violations of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
scores of individuals inside the U.S. Capitol building without authority to be there, in violation of
Federal laws. Photographs and videos of several of these persons were disseminated via social
media and other open-source online platforms. As detailed below, these persons included an adult
male wearing a blue puffer jacket and blue “Trump 45” winter hat, whom law enforcement has
probable cause to believe is Michael G. McCORMICK of Orange, California.

       Following January 6, 2021, your affiant reviewed information provided by American
Airlines, which confirmed that McCORMICK traveled to Washington D.C. prior to January 6,
2021. According to American Airlines records, “Mike McCormick”, with telephone number
ending -21821, flew from Santa Ana, California to Washington, D.C. on January 5, 2021. On
January 7, 2021, “Mike McCormick” returned to Santa Ana from Washington, D.C.

        According to records obtained through a search warrant served on Google, a mobile device
associated with the phone number ending in -2182 and Google account mikeXXXX2 was present
at the U.S. Capitol on January 6, 2021 and located within the restricted zone as early as 2:06:05
pm and as late as 4:58:04 pm. A law enforcement database attributed the phone number ending in
-2182 to Michael G. McCORMICK and records obtained from T-Mobile confirmed the phone
number ending -2182 is subscribed to Michael G. McCORMICK.

       According to video footage, on January 6, 2021, McCORMICK entered the Capitol
through the Senate Wing Door at approximately 2:55 pm, as depicted below:




1
  This filing references only the last four digits of the phone number due to the public nature of this filing.
2
    FBI is in possession of the full account name but has anonymized it partially here due to the public nature of this
filing.
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        McCORMICK was identifiable in the crowd due to his blue “Trump 45” winter hat and a
blue jacket. When he entered the Capitol, McCORMICK held up his cellphone, recording a video,
as depicted below:




       After entering the Capitol, McCORMICK turned right and proceeded to walk through the
Capitol Crypt and then to the Hall of Columns, as depicted below:




       McCORMICK exited the U.S. Capitol via the South Doors at approximately 3:03 pm.
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        Based on additional records obtained from Google, the FBI determined McCORMICK was
the subscriber to Google account mikeXXXX and phone number ending -2182. The records also
included several photographs and videos that confirmed McCORMICK was in Washington D.C.
and entered the Capitol grounds on January 6, 2021. One of these videos is approximately 11
minutes long and was filmed by McCORMICK as he walked through the Capitol. The video
depicts McCORMICK’s entry into the Capitol, his walk through the Capitol, and his exit. The
video is summarized by screenshots below:




       Your affiant identified McCORMICK via California Department of Motor Vehicle (DMV)
records. Additionally, your affiant reviewed McCORMICK’s DMV photograph and confirmed it
matched the individual pictured above. On November 4, 2021, your affiant observed
McCORMICK in person and can confirm the person in the pictures above is Michael G.
McCORMICK.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Michael G. McCORMICK violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Michael G. McCORMICK
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
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                                                    _________________________________
                                                    Special Agent Nichole Riordan
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                 16 day of November 2021.
telephone, this _____
                                                    G. Michael        Digitally signed by G.
                                                                      Michael Harvey

                                                    Harvey            Date: 2021.11.16 10:53:37
                                                                      -05'00'
                                                    ___________________________________
                                                    HON. G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
